     Case 1:08-cr-00004-MP-AK           Document 283       Filed 03/16/09      Page 1 of 1


                                                                                         Page 1 of 1


                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                           CASE NO. 1:08-cr-00004-SPM-AK

WILLIE CHARLES CARTER,

      Defendant.
_____________________________/

                                          ORDER

       This matter is before the Court on Doc. 282, Motion to Continue Sentencing, filed by

Defendant Willie Charles Carter. Defendant’s sentencing is currently set for Friday, March 20,

2009 at 11:00 a.m. Defendant requests a continuance of 30 days, because his attorney is set to

undergo surgery two days before the scheduled sentencing and is expected to be unable to attend

Court for some time thereafter. The Government does not oppose the motion. Upon

consideration, the Court finds that the motion should be granted. Accordingly, it is hereby

       ORDERED AND ADJUDGED:

       The Motion to Continue Sentencing, Doc. 282, is GRANTED. The sentencing of
       WILLIE CHARLES CARTER is reset to Wednesday, April 22, 2009, at 2:00 p.m.

       DONE AND ORDERED this            16th day of March, 2009


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
